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                                                                              p[i rn
                                        UNITED STATES DISTRICT COURT


                                        EASTERN DISTRICT OF VIRGINIA
                                                                           Ml -L| P 2: n




ELOISE WOODS


        Plantiff,

V.



EQUITY RESIDENTIAL
EQUITY RESIDENTIAL MANAGEMENT LLC.
SAMUEL ZELL
MARK PARRELL
FRANCES NOLAN
NICOLE KLEIN


In the capacity as a trust for EQUITY RESIDENTIAL;

And doing business as
EQUITY RESIDENTIAL MANAGEMENT LLC;


        Defendants,



DEFENDANTS;


     1. Defendant, Equity Residential, located at 2 North Riverside Plaza, Suite 400,
        Chicago, Illinois, operates as a real estate investment trust, engages in the
        acquisition, development, and management of rental apartment properties
        and owns the Arlington Courthouse Plaza Apartments in Arlington County,
        Virginia.

     2. Defendant, Equity Residential Management, with its principal place of
        business, the aforementioned Equity Residential, in Chicago, Illinois, is
        a limited liability company and manages and leases multiple residential rental
        properties in Virginia, including the Arlington Courthouse Plaza Apartments'
        396 rental units in Arlington County, Virginia.

     3. Defendant, Samuel Zell, at all times relevant to this suit, serves individually as
        the Equity Residential Board of Directors Chairman and chairs Equity Group
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      Investments. Samuel Zell is herein sued as Chairman of Equity Residential
      Board of Directors and Equity Residential Real Estate Investment Trust

   4. Defendant, Mark Parrell, at all times pertinent to this action, serves
      individually as Equity Residential Chief Executive Officer and President and
      as an Equity Residential Board of Directors Trustee. He is herein sued as Chief
      Executive Officer and President of Equity Residential.

   5. Defendant, Frances Nolan, at all times relevant to this suit and as described in
      her Linkedin profile [ExhibitA ]," serves individually as Equity Residential
      Management Vice President and herein sued as Vice President of Equity
      Residential Management.

   6. Defendant, Nicole Klein, at all times pertinent to this civil action,serves
      individually as Equity Residential Management's Arlington Courthouse Plaza
      Apartments General Manager.She is herein sued as General Manager of
      Equity Residential Management's Arlington Courthouse Plaza Apartments in
      Arlington County, Virginia.


2. Plaintiff alleges:

a)This action is brought by plaintiff, Eloise Woods,on behalf of herself, to seek
enforcement of and restitution pursuant to 42 USC § 1981(a)and (c)Equal Rights
Under The Law; 42 USC § 1982 Property Rights ofCitizens; Virginia Fair Housing
Law,Virginia Code § 36-96.3.(A)(2) Unlawful Discriminatory Housing
Practices; Arlington County Human Rights Ordinance,Arlington
County,Virginia Code § 31-3(A)(1)(b),(e),and (g)Prohibited Acts; Virginia
Code § 55.1-1258(A)(ii) and(B)Retaliatory Conduct Prohibited; Virginia
Consumer Protection Act 59.1-200(A)(13)and(14)Prohibited
Practices; and,Virginia Code § 55.1-1209(A)Confidentiality OfTenant Records.


b) This civil action addresses violations regarding Plaintiffs right to make and
enforce contracts on an equal basis regardless of race or color,to lease property on
an equal basis regardless of race or color, and to obtain nondiscriminatory terms
and conditions of rental housing guaranteed, respectively, by 42 USC §1981(a)
and (c)Equal Rights Under The Law;42 USC § 1982 Property Rights of
Citizens; Virginia Fair Housing Law,Virginia Code § 36-96.3.(A)(2) Unlawful
Discriminatory Housing Practices, and,Arlington County Human Rights Ordinance
Virginia Code § 31-3(A)(1)(b),Prohibited Acts.
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c) Plaintiff, in addition, brings this suit as Plaintiff was subjected to wholly private
efforts intended to impede and obstruct Plaintiffs seeking and obtaining non
judicial redress of contractual disputes pertaining to the force of binding
obligations, activity protected under the above mentioned 42 USC § 1981(a)and
(c)and 42 USC § 1982; Virginia Code § 55.1-1258(A)(ii) and(B)Retaliatory
Conduct Prohibited; and, Virginia Code § 31-3(A)(1)(e),and (g),and
said protected activity for which Plaintiff was also subjected to targeted adverse,
retaliatory actions.


d) Plaintiff further requests legal redress as services previously afforded White
Arlington Courthouse Plaza Apartments tenants were later denied to Plaintiff, in
violation of42 USC § 1982.



3. This Court has jurisdiction over this action pursuant to 28 U.S.C.§ 1332.


4. Venue in this district is proper pursuant to 28 U.S.C.§ 1391(b]. The events or
omissions giving rise to this claim occurred in the Eastern District of Virginia; the
property that is the subject of the action is situated in the Eastern District of
Virginia; and,the Defendants conduct business in this District.


5. Defendant, Equity Residential,located at 2 North Riverside Plaza, Suite 400,
Chicago, Illinois, operates as a real estate investment trust, engages in the
acquisition, development,and management of rental apartment properties and
owns the Arlington Courthouse Plaza Apartments in Arlington County, Virginia.


6.Defendant, Equity Residential Management, with its principal place of business,
the aforementioned Equity Residential, in Chicago, Illinois, is a limited liability
company and manages and leases multiple residential rental properties in Virginia,
including the Arlington Courthouse Plaza Apartments'396 rental units in Arlington
County, Virginia.


7. Defendant, Frances Nolan, at all times relevant to this suit and as described in her
Linkedln profile [Exhibit A ], is "responsible for the leadership of the DC Metro
property management group",and serves as Equity Residential Management Vice
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President. She is White and herein sued as Vice President of Equity Residential
Management.


8. Defendant, Mark Parrell, at all times pertinent to this action, serves as Equity
Residential Chief Executive Officer and President and as an Equity Residential Board
of Directors Trustee. He too is White and herein sued as Chief Executive Officer and
President of Equity Residential.


9. Defendant, Samuel Zell, at all times relevant to this suit, serves as the Equity
Residential Board of Directors Chairman and chairs Equity Group Investments,a
private investment firm he founded more than 50 years ago, and Equity Residential
Real Estate Investment Trust. Samuel Zell is White and herein sued as Chairman
of Equity Residential Board of Directors and Equity Residential Real Estate
Investment Trust.



10. Defendant, Nicole Klein, at all times pertinent to this civil action, serves
as Equity Residential Management's Arlington Courthouse Plaza Apartments
General Manager and did so,in accordance with Exhibit C, until her last day of
employment, March 30,2022.She is White and herein sued as General Manager of
Equity Residential Management's Arlington Courthouse Plaza Apartments in
Arlington County, Virginia.


11. Defendants' residential rental properties in Arlington County, Virginia,
including Arlington Courthouse Plaza Apartments,are dwellings within the meaning
of the Virginia Fair Housing Law,Code of Virginia § 55.1-1200. At the Defendants'
Arlington Courthouse Plaza Apartments dwelling. Black tenants comprise roughly
1.5 % -1.8% of the total number of tenants and White tenants comprise
approximately 98.2% - 98.5 %[ExhibitBpages 1-2].


12. Defendants, Nicole Klein, Frances Nolan, Mark Parrell and Samuel Zell, and their
agents and/or employees have engaged in a pattern or practice of obstruction,
harassment, retaliation and discrimination on the basis of race and color in
connection with the rental of dwelling, Arlington Courthouse Plaza Apartments,
owned by Equity Residential and managed and leased by Equity Residential
Management,and did so in violation of42 USC § 1981; 42 U.S. Code §
1982; Virginia Fair Housing Law,Virginia Code § 36-96.3.(A)(2); Arlington
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County Human Rights Ordinance Virginia Code § 31-3(A)(1)(b),(e),and (g);;
and, Virginia Code § 55.1-1258(A)(ii) and (B).


13.The Defendants and their agents have engaged in a pattern or practice
of interference with and obstruction of Plaintiffs right to enforce,through non
judicial processes,legally binding contractual obligations,and obstructed, harassed,
retaliated and discriminated against Plaintiff vis-a-vis said protected activity.


14. Defendants, Nicole Klein, Frances Nolan, Mark Parrell, Samuel Zell, Equity
Residential, and Equity Residential Management LLC have, at all times relevant to
this Complaint, had the authority to control and direct the agents who committed
acts of obstruction, harassment, retaliation and discriminator stated herein


ch the Premises is located, and the Community as a whole, are smoke-free living
environments." and "we [Defendants] will take reasonable steps to enforce the
smoke-free terms of the Lease and to make the Community a smoke-free
environment.". Defendants failed to do so.
I. FACTUAL ALLEGATIONS



15. The breadth of material here is considerable, necessitating a brief explanation to the Court.
This complaint presents verified allegations regarding numerous acts of misconduct including,
but not limited to, fraudulent, false, and misleading representations, statements and actions by
Defendants, Frances Nolan and Nicole Klein, and other Defendants and
Defendants' agents.


16. In an effort to familiarize the Court with the pertinent incidents and conduct related to the
"Smoke Free Lease Addendum" terms. Plaintiff provides the following details:

a) Plaintiffs initial tenancy in November 1993 until December 4,2021 entailed a lease
agreement and the most recent agreement was a one year lease from December 5,2020 -
December 4, 2021 [Exhibit D Residential Lease - Term Sheetpages 1 - 2]. Defendants'"
Arlington Courthouse Plaza Apartments' leasing policy dictates, should tenants choose not to
sign a new lease their tenancy becomes a month to month tenancy. Plaintiff since December 5,
2021 resides at the Arlington Courthouse Plaza Apartments as a month to month tenant.



b)The "Smoke - Free Lease Addendum",is an integral part ofleasing agreement and reads, in
relevant part:
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"This Smoke Free Lease Addendum ("Addendum")is dated and effective as of the
date on the Residential Lease - Term Sheet(the "Term Sheet")to which this
Addendum is attached and made a part of("the Lease") and is made by and between
Lessor and Resident for the Premises at the Community identified in the Lease.

You acknowledge that the building in which the Premises is located, and the
Community as a whole, are smoke-free living environments.You and all of your
occupants and guests are prohibited from smoking anywhere in the interior or
exterior of the Premises (including balconies and patios), within twenty-five feet of
any building entrance, outdoor air intake and/or operable window,or anywhere
else in the Community. This policy is intended to benefit all residents of the
Community. You are responsible for any violation of this non-smoking policy by you,
or any of your occupants or guests.

You understand that we will take reasonable steps to enforce the smoke-free terms
of the Lease and to make the Community a smoke-free environment...."


17. While the aforementioned terms include, "....that the building in which the
Premises is located,and the Community as a whole,are smoke-free living
environments." and "we [Defendants] will take reasonable steps to enforce the
smoke-free terms of the Lease and to make the Community a smoke-free
environment.", Defendants failed to do so.



18. In fact. Defendants neither provided a smoke free environment at the premises
from May 2020 - July 2021 nor on numerous occasions did the Defendants take
reasonable measures to enforce the smoke free policy.


19. Plaintiff elaborated upon Defendants'failure to honor the above mentioned
binding terms in a November 8,2021 6:37 p.m. EST email communication [ExhibitF
pages 10-14]to Defendant, Samuel Zell. The relevant portions of Plaintiffs
November 8, 2021 email to Samuel Zell read:

"Additionally, I [Plaintiff] feel that I would be remiss not to comment regarding
Frances Nolan's contention in her September 3, 2021 correspondence [Exhibit E\
concerning the May 2020 - June 2021 marijuana smoking issue involving the former
resident in apartment 1726, which read," we have continued tofollow up and
address every complaintyou have broughtforward to the best ofour ability....Our role
is to address issues ofnon compliance whenfound and work to ensure compliance as
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best we can. In this situation we met that obligation. We continued to addressyour
complaints each and every time."

Frances Nolan's above statement is an unequivocal untruth. My [Plaintiffs] initial
outreach concerning the above matters, as set forth in the attached files,"0ct21st
2020 E. Woods'Email To M. ParrellAnd M. Manelis Requesting More Aggressive
Action"[Exhibit G\;"Nov 2nd 2020 E. Woods'Email To M. ParrellAndM. Manelis
Requesting More Aggressive Action"[Exhibit H]; and,"Nov 2020 - June 2021 E. Woods'
Complaints To Equity Regarding Marijuana Smoke"[Exhibitf\, occurred in May 2020
and entailed phone calls to the concierge desk and leasing office. At no time during
the aforementioned period did General Manager Nicole Klein or any staff member
respond to my complaints nor confirm anyone was investigating them. Rather, as
the smoking continued post my May 2020 - August 2020 calls to the concierge desk
and leasing office, still with no response or follow up from Nicole Klein or any
member of the staff indicating the matter was being addressed, 1 then sent a
September 15, 2020 5:33 p.m. EDT written request via email [Exhibits G page 2and
Hpages 2-3]for assistance and it read,in relevant part::

"Dear Ms. Rivera and Ms. Kline,

In the last two - three months 1 have called at least 5-6 times about residents in my
vicinity, apartment 16__„ smoking. Today, 1 smelled not only cigarette smoke but
marijuana and in the majority of instances it has been marijuana. Both substances
give me terrible headaches. 1 have asked several times when I have called about
these occurrences that an email be sent at a minimum to residents on the 15th -
17th floors regarding this conduct yet at no time in the last three months have 1
received or seen such an email correspondence. The fact of the matter is that not
only are residents violating their lease by smoking they are also violating the law in
certain instances. To my knowledge smoking marijuana remains illegal in Virginia
yet it consistently continues to occur here and it is highly disturbing. Will you please
take more effective measures to address the above matters?"


As the foregoing facts demonstrate approximately four months passed before 1
[Plaintiff] received a response to my [Plaintiffs] complaints or any measures were
implemented to resolve the unlawful conduct,smoking marijuana, occurring on the
premises. In fact, the response and action that did finally occur did so post my
aforementioned September 15,2021 correspondence to Nicole Klein and Lizzie
Rivera wherein 1 requested such [Exhibits G page 2and H pages2-3] Is ignoring a
resident's complaints for four months and only taking action after the resident
demands such your organization's standards to which Francis Nolan referred vis-a-
vis "work to ensure compliance as best we can" or "to the best of our ability" or
"address your complaints each and every time"?"
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20. Plaintiff shared further details in the previously mentioned November 8, 2021
6:37 p.m. EST email communication to Defendant, Samuel Zell, regarding
Defendants'failure to honor the "Smoke Free Lease Addendum"terms,and those
details read:


"The above described occurrences are not the only ones in which my [Plaintiffs]
requests for assistance concerning the marijuana smoking were ignored. As to this,
while Nicole Klein and her team responded to my September 15,2020
communication,it became readily apparent the measures upon which she
embarked,emailing and calling residents in my vicinity, to rectify the situation were
not a sufficient deterrent. As such by the sixth month of the smoking fiasco 1, per the
attached October 21, 2020 9:37 a.m. EDT email to CEO Mark Parrel and COO Michael
Manelis entitled,"URGENT!NEED HELP Marijuana Smoking Issue At Courthouses
Plaza Arlington VA"[Exhibit G pages 1 - 2],sought more aggressive action by Equity
Residential. That October 21, 2020 communication read:

"Dear Mr. Parrell and Mr. Manelis,

I am in Arlington, VA Equity resident at the Courthouse, Plaza Apartments,and have
resided here since November 1993. Currently, there is an ongoing issue of a resident
in my vicinity of the building smoking marijuana on a regular basis. In fact, it has
been occurring for several months. This circumstance is wreaking havoc on my
health. I awaken in the middle of the night or early mornings with my apartment
smelling of marijuana and headaches and chest pains from inhaling the fumes.

The Equity Regional Manager, Lizzie Rivera, and the Courthouse Plaza Apartments
Manager, Nicole Klein, have made efforts to resolve the above issue, including emails
and phone calls to residents in my vicinity. Regrettably, their actions have had either
temporary or no impact upon whomever is violating the terms of his or her lease
and Virginia law.

Will you kindly lend a hand in addressing this matter? 1 believe a letter from your
General Counsel on Equity Letterhead to resident(s) addressing the described
matter may be particularly helpful.

Nicole Klein's attached September 15,2020 targeted email to residents in my
vicinity helped to some extent in that the resident(s) is/are no longer smoking
during the day. Hence,an email from your Equity General Counsel citing the legal
violations and ramifications of such misconduct may cause the resident(s) to cease
this conduct and eliminate the issue entirely."
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Enclosed with my October 21,2020 email to CEO Mark Parrell and COO Michael
Manelis were my September 15,2020 - October 20, 2020 communications with
Lizzie Rivera, Nicole Klein and the leasing team [Exhibit G]. 1 included those to
ensure Mr. Parrell, Mr. Manelis and General Counsel Scott Fenster were familiar
with the measures taken should they be amenable to implementing a different and
more aggressive approach than available to Nicole Klein. 1 received no response
from Mark Parrell nor Michael Manelis or any member of their team and the
marijuana smoking continued while contemporaneously wreaking havoc on my
health. Is ignoring a resident's urgent request for help also your organization's
standard of,"work to ensure compliance as best we can" or "address your
complaints each and every time"? In fact,two weeks passed with still no response
from either Mark Parrelll or Michael Manelis or any member of their team so I again
on November 2, 2020 at 1:03 p.m. EDT as described in the attached file,"Nov2nd
2020 E. Woods'Email To M. Parrell And M. Manelis Requesting More Aggressive
Action"[Exhibit H],sought assistance beyond the measures at General Manager
Nicole Klein's disposal. There too in the November 2, 2020 communication 1
attached my previous communications with Nicole Klein dating back to September
15,2020 and up to November 2, 2020 [Exhibit H\ and again did so to ensure Mr.
Parrell, Mr. Manelis and General Counsel Scott Fenster were familiar with the
measures taken thus far which were not a sufficient deterrent. In my November 2,
2020 communication 1 shared the following:

"Dear Mr. Parrell and Mr. Manelis,

Does the Equity General Counsel, Scott Fenster,intend to take any action or did he?
The non-legal actions Nicole Kline and Lizzie Rivera have embarked upon are not
resolving the matter. Regrettably, whoever is engaging in this misconduct ceases
and desists for a brief period following Nicole Klein and Lizzie Rivera's requests
resident(s) do so and then resumes shortly thereafter. Would you kindly ask Equity
General Counsel, Scott Fenster, to assist?"

1 again received no follow up from Mr. Parrell, Mr. Manelis nor General Counsel Scott
Fenster or any assurances more aggressive action would be taken or even
considered, despite their knowing the current measures were not eradicating the
problem. Is their inaction ,while having full knowledge current measures were an
insufficient deterrent, indicative of your company's standard procedure,"to ensure
compliance as best we can" or "to the best of our [your] ability"? As you're an
obviously accomplished and hard working man,I would venture to guess their
aforementioned action or rather inaction does not dovetail with your expectations,
"to ensure compliance as best we [you] can" or "to the best of our [your] ability" nor
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I would venture for,"Creating communities where people thrive.", your professed
mission."



21. By December 2020,as set forth in the file,"Nov2020 -June 2021 E. Woods'
Complaints To Equity Regarding Marijuana Smoke"[ExhibitI pages4 - 5], it became
readily apparent that the resident in 1726 was the tenant smoking marijuana and of
which Defendant, Nicole Klein, was informed on numerous occasions.



22. In fact, shortly before Christmas 2020 Plaintiff smelled marijuana one evening
coming through Plaintiffs bathroom ceiling fan and immediately contacted the
concierge representative, Darrell. He and Plaintiff then proceeded to the 17th floor
whereupon Darrell told the 1726 tenant about smoke coming through Plaintiffs
bathroom ceiling fan. After Darrell did so and Plaintiff returned to her apartment
within minutes the marijuana smoke ceased emanating from Plaintiffs bathroom
ceiling fan. This December incident was one among many,as described in the
previously mentioned file,"Nov 2020 -June 2021 E. Woods'Complaints To Equity
Regarding Marijuana Smoke"[Exhibit I], which pointed to the 1726 resident as the
source of the problem. As set forth in the attached January 20, 2021 6:27 p.m. EST
email to Nicole Kline [ExhibitIpage 3], Plaintiff shared such was the case on
January 19, 2021.


23. As indicated in Plaintiffs attached February 3,2021 10:25 a.m. EST email
communication [ExhibitIpage 4], as of February 3,2021 Defendants' Regional
Manager Lizzie Rivera and Defendant, Frances Nolan,knew circumstances arose
that consistently pointed to the 1726 resident essentially being the culprit. Plaintiff
specifically indicated to them as well as Nicole Klein:

"The resident in 1726 is continuing to smoke marijuana during the early morning /
dawn hours. Again this morning I awakened to marijuana smoke coming from my
bathroom ceiling fan area....As I shared on 1/20/21,there is no question it is the
resident in 1726 smoking. After I called the front desk representative on Tuesday,
1/19/21,and informed her then the resident in 1726 was smoking she called me
back later that evening and said she called the resident in 1726 and he said that he
was cooking. Despite what he said, he wasn't merely cooking and more importantly
he in effect acknowledged the smoke is coming from his apartment."


24.The following month again Plaintiff alerted Defendants' Regional Manager,
Lizzie Rivera and Defendant, Frances Nolan, circumstances still pointed to the 1726


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resident as the one smoking. Plaintiff stated in that March 14,2021 6:28 p.m. EDT
email [ExhibitI pages6 - 7],"As 1 shared in my below enclosed email this afternoon
to your concierge staff member....! awakened Sunday morning with a terrible
headache caused by a horrific aroma emanating from my bathroom area, which had
spread throughout my apartment." Plaintiff sent approximately four more
communications over the next three months that again recited circumstances as the
1726 resident as the one smoking.


25. Despite Plaintiffs reports from December 2020 - June 2021 concerning the 1726
resident's repeated misconduct, no action was taken to evict him until June 25,
2021. Defendant, Frances Nolan,alluded to this action in a June 25, 20214:23 p.m.
EDT email wherein she remarked,"While I'm not at liberty to share private
information about other residents, I am hopeful that this matter will come to a
resolution on its own in the next couple of months."


26. By roughly late August 2021 the 1726 tenant no longer resided at Arlington
Courthouse Plaza Apartments and since his departure NOT ONCE has Plaintiff
smelled marijuana smoke in her apartment nor reported such to any staff member
or manager yet for roughly nine months prior Plaintiff told Defendants of concrete
incidents which pointed to the 1726 resident as the tenant violating the "Smoke -
Free Lease Addendum" and Defendants took no action until another 8-9 months
and Plaintiff suffered physical injury as a result of Defendants'failure to act sooner,
and on August 15, 2021 landed in Privia Medical Group Urgent Care Center in
Arlington County, Virginia [ExhibitFpage6 and Exhibit Vpages 7-9].


27. Plaintiff shared further details in the aforementioned November 8,2021 6:37
p.m. EST email communication to Defendant,Samuel Zell, regarding smoking having
been an ongoing issue throughout the 2020 fall to the 2021 summer.Those details
include:


"Lastly, General Manager Nicole Klein in a November 4, 2020 communication
indicated,"we would like to offer you [Plaintiff] the opportunity to transfer onsite
without penalty. Though, we cannot guarantee you won't experience similar issues
in another apartment." Given there was "no guarantee" 1 wouldn't experience a
similar issue in a different apartment and as described in the attached files,"0ct21st
2020 E. Woods* Email To M. Parrell And M. Manelis Requesting More Aggressive
Action"" and "Nov 2nd 2020 E. Woods* Email To M.Parrell And M. Manelis Requesting
More Aggressive Action",just three weeks prior in an October 15, 2020 5:08 p.m.
Arlington Courthouse Plaza Apartments email communication,"Community


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Updates and Reminders"[Exhibits G pages8-10 and H pages 9-10],to the
Arlington Courthouse Plaza Apartments community at large, Nicole Klein and her
staff reported,"We are still receiving concerns from residents who smell smoke in
their homes.",1 chose not to transfer. Smoking, based on the October 15,2020
communication, obviously was an issue throughout the complex. Moreover,
November 2020 was the height of the Coronavirus pandemic and shutdown and
already more than 230,000 Americans had died, 3,677 of whom were Virginians
[Exhibit0pages 1-3],so transferring to a different unit where another tenant
resided along with close contact with professional movers were not safe nor
feasible.


Nicole Klein further offered on November 4, 2020,"...we would be willing to allow
you to terminate your lease by paying a reduced settlement amount equal to
$2012." Mr. Zell, given vacating under the aforementioned circumstances would
have been tantamount to a constructive eviction and caused me emotional and
mental distress in light of the potential and unforeseen costs of moving and having
to do so in the midst of the Coronavirus pandemic and shutdown,that offer under
those circumstances simply was not an equitable one. Similar offers occurred on
June 8, 2021 and to which I replied in a June 9,2021 3:31 a.m.. email which read, per
the file,"Nov2020 -June 2021 £ Woods'Complaints To Equity Regarding Marijuana
Smoke"'.[ExhibitI pages 16-17]:

"....you stated,"we are willing to offer you the opportunity to terminate your lease
and vacate the apartment without penalty." Should 1 find that 1 need to vacate and in
light of your not guaranteeing a similar situation will not occur in another
apartment here, my having to do so would be tantamount to a constructive eviction.
Therefore, your above set forth offer under such a circumstance simply would not
suffice, particularly given my longstanding residency of 28 years and the emotional
and mental distress such a development would cause me."


 28. Following Plaintiffs sending the discussed June 9, 2021 message Plaintiff never
 received an alternative offer from Defendant, Nicole Klein. In fact, communication
with Nicole Klein at that particular juncture, June 8,2021 - June 9,2021,took a turn
for the worse. From stating unequivocal untruths to altering language in previously
 emailed communications in an effort to discredit Plaintiff, Nicole Klein's unethical
 conduct knew no bounds nor did her superior's, Lizzie Rivera.[ExhibitsJ,K and L]


29. As to the aforementioned turn for the worse vis-a-vis Defendant Nicole Klein's
 June 8,2021 - June 9,2021 unethical conduct. Defendant, Nicole Klein, in a June 8,
 2021 5:58 p.m. EDT email [Exhibit Kpage 1], on which Defendant, Frances Nolan,


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was included, claimed the Arlington Courthouse Plaza Apartments staff exercised
reasonable measures in enforcing Defendants'smoke free policy.


30. However,just days prior, as described in the Plaintiffs June 9, 2021 3:31 a.m.
EOT email [ExhibitK pages2- 3],the staff did not. The Plaintiffs June 9,2021 email
concerning the preceding matter, on which Defendant, Frances Nolan, was also
included, read:

"Hi Nicole,

While I [Plaintiff] appreciate your 6/8/21 communication, I am troubled and
disturbed. At the outset you stated, "As you are aware We've walked the
halls when you've reported it....". That simply is not true. As 1 indicated in my
Sunday,5/30/21,12:08 a.m. and Friday,6/4/21,7:49 p.m. emails [ExhibitI pages
11'12 and page 15], on Friday, 5/28/21,at approximately 9:00 p.m.and per your
direction earlier that same day, I telephoned the concierge representative on duty,
Jalyn, and informed her extensive pungent fumes were emanating from my
bathroom ceiling. I then requested,in accordance with your previous direction, she
go and investigate and she refused. She stated more than once when I asked her to
do so,"My supervisor told me 1 can't leave the front desk." So for you to say at the
outset,"We've ...walked the halls when you've reported it...", is factually
inaccurate and seemingly disingenuous.The reality is had she done so,
including knocking on the door of apartment 1726, you and your team more than
likely would have determined the source given the odor was pervasive but as
mentioned she refused to do so. Hence, your claiming due diligence has been
exercised, when in fact it has not and I alerted you to that not once but twice
on Sunday,5/30/21,at 12:08 a.m. and Friday,6/4/21,at 7:49 p.m., remains
troubling and upsetting."


31. Within just hours of the Plaintiffs emailing the above detailed June 9, 2021 3:31
a.m. EDT email to Defendants, Nicole Klein and Frances Nolan, Nicole Kline in her
June 9,202112:34 p.m. EDT response [Exhibit Kpage 3]spewed further untruths.
The Plaintiffs June 9,2021 7:03 p.m. EDT response [ExhibitKpages4 - 5]to
 Defendants, Nicole Klein and Frances Nolan,addressed those untruths and read as
follows:


"....While 1 appreciate your follow up, I am even more troubled and disturbed than 1
was after receiving your 6/8/21 email. The untruths and seemingly disingenuous
conduct is continuing. As to this you stated,"Prior to your signing the
renewal agreement,we discussed that we couldn't guarantee that there


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would not be any further issues        That is an unequivocal untruth. At no time
did I speak directly with any Equity team member when negotiating the initial terms
of my December 2020 - December 2021 lease agreement nor thereafter. The only
individual I negotiated with regarding the terms of my new lease and what those
terms would include was Ms. Rivera "[Defendants' Regional Manager Lizzie Rivera]
[Exhibit M pages 1-4],


32. Post Defendant Nicole Klein's previously set forth June 8,2021 -June 9, 2021
improper conduct,Plaintiffs initial written request to file a complaint occurred on
June 14,2021 at 4:39 p.m. EDT and that June 14, 2021 email to Mark Parrell labeled
"URGENT! Requesting Assistance Re: Filing Complaint With Equity HR
Department" stated, in relevant part[ExhibitJpage 1]:

"....1 [Plaintiff] am a longstanding Equity resident at the Arlington Courthouse Plaza
Apartments in Arlington, VA. In fact, 1 initially moved here in 1993 when Charles E.
Smith owned this property recently I had a highly troubling and distressing
experience....would you kindly lend a hand in assisting me in filing a formal
complaint with your Human Resource Department? I am troubled by my above
mentioned experience and would like to file a complaint as soon as possible."



II. DEFENDANTS'AND THEIR AGENTS'AND EMPLOYEES'PATTERN OR
PRACTICE OF OBSTRUCTION,RETALIATION,HARASSMENT AND
DISCRIMINATION



33. Post Plaintiffs pursuing the previously set forth nonjudicial methods of
addressing issues about the force of the binding "Smoke Free Lease Addendum"
terms and Defendants' and their agents'failure to honor said
obligations. Defendants engaged in a pattern or practice of obstruction, retaliation,
harassment,and discrimination by, among other ways:


A) Creating, maintaining,and perpetuating an environment at the Arlington
Courthouse Plaza Apartments, which Defendants own and manage in
Arlington County,Virginia,that is hostile to Plaintiff.

i) Defendant, Nicole Klein, in a June 8,2021 5:58 p.m. EDT email [Exhibit Kpage 1],
on which Defendant, Frances Nolan, was included, made false statements about
Defendants' employees'exercising reasonable measures in enforcing the smoke free


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policy and on June 9,2021 in 12:34 p.m. EDT response [ExhibitKpage 3;Exhibit L
page 3; and,ExhibitI page 15] made additional false statements about December
2020 leasing agreement negotiations with Plaintiff[Exhibit L pages 5-6]and
altered language in previously sent email in an attempt to discredit Plaintiff[Exhibit
L pages 1 - 3] post Plaintiffs pursuing nonjudicial methods of addressing issues
concerning Defendants' binding "Smoke-Free Lease Addendum" obligations


ii) Defendants' Regional Manager Lizzie Rivera, was party with whom Plaintiff
negotiated the aforementioned December 2020 leasing agreement[Exhibit Mpages
1 - 4]; included on the above mentioned June 8, 2021 - June 9,2021 emails; and,
knew Nicole Klein's above described false statements were,in fact, untruths yet took
no action to intervene or safeguard Plaintiffs rights and/or interests.


iii) Defendant, Frances Nolan,condoned on June 25, 2021 at 4:23 p.m. EDT [Exhibit
Jpages6 - 7], despite receiving Plaintiffs June 16,20214:31 p.m. EDT twenty-seven
minute oral account[Exhibit Vpages 1-7]and documentary evidence verifying
said account[ExhibitJ pages4 - 6], Defendant Nicole Klein's June 8,2021 5:58 p.m.
EDT and June 9, 2021 12:34 p.m. EDT false statements, altering of previously sent
emails to conceal Defendants' employees'refusal to investigate complaints about
then tenant 1726's smoking marijuana [ExhibitI page 15] and Defendant Nicole
Klein's untruths about involvement in December 2020 leasing agreement
negotiations with Plaintiff when,in fact. Defendants' Regional Manager Lizzie Rivera
handled negotiations and Nicole Klein only handled administrative matters
regarding leasing agreement[Exhibit M pages3-4 and Exhibit Nf].


iv) Defendants, Mark Parrell and Frances Nolan,ignored, respectively.
Plaintiffs August 24, 2021 12:34 a.m. EDT written request[Exhibit Upages 1-2];
August 24,20211:04 a.m. EDT oral request via voicemail [Exhibit Vpages 16-17],
and,August 26,2021 2:04 p.m. EDT written request,"FILING FORMAL
COMPLAINT; Re: URGEN'T!! Need Assistance Re: Disturbing & Unprofessional
Exchange With Equity Manager"[Exhibit U page 3;ExhibitFpages5- 8;and,
Exhibit Tpage 8],to file a formal complaint with Equity Residential Human
Resources Department against Defendants' Regional Manager Lizzie Rivera for
August 23,2021 hostile, combative conduct[Exhibit Vpages 7-16],and Defendant
Nicole Klein's above discussed June 8,2021 - June 9, 2021 misconduct inextricably
linked to Defendants'"Smoke Free Lease Addendum" obligations, neglect vis-a-vis
those obligations and Plaintiffs efforts to pursue nonjudicial methods of addressing
those "Smoke-Free Lease Addendum" obligations.



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v) Defendant, Frances Nolan, made false statements in September 3, 202110:06
a.m. EOT email by contending, concerning the May 2020 - June 2021 marijuana
smoking issue involving the former resident in apartment 1726, " we have
continued to follow up and address every complaint you have brought forward to
the best of our ability....Our role is to address issues of non compliance when found
and work to ensure compliance as best we can. In this situation we met that
obligation. We continued to address your complaints each and every time."[Exhibit
E], when in fact Plaintiffs initial outreach regarding the above mentioned smoking
issue occurred in May 2020 and entailed phone calls to the concierge desk and
leasing office and at NO TIME for the next four and a half months, May 2020 -
September 15,2020, did Defendant, Nicole Klein, or any staff member respond to
Plaintiffs complaints or confirm anyone was investigating them [Exhibit G page 2
and ExhibitH page 3].


vi) Defendant, Frances Nolan,roughly one week after Plaintiffs
aforementioned August 24, 202112:34 a.m. EDT; August 24, 20211:04 a.m. EDT;
and,August 26, 2021 2:04 p.m. EDT requests to file a formal complaint with
Defendants' Human Resources Department and Plaintiffs efforts to pursue
nonjudicial methods of addressing issues concerning Defendants' binding "Smoke-
Free Lease Addendum" obligations, ceased on September 3,2021 at 10:06 a.m.
EDT the at least five year policy or practice, given Plaintiffs 25 years of business by
2017, of Frances Nolan's or Defendants' Regional Manager Lizzie Rivera's
negotiating directly with Plaintiff regarding lease renewal terms so as to ensure
Plaintiff received best offer possible [Exhibit Fpages3- 5]. Frances Nolan
established the foregoing policy or practice as Defendant and General Manager of
Arlington Courthouse Plaza Apartments, Nicole Klein,lacked such authority.[Ex/i/Wt
Eand ExhibitFpages 7-8].


vii) Defendants then approximately 30 days after Plaintiffs aforementioned August
24, 2021 12:34 a.m. EDT; August 24, 20211:04 a.m. EDT; and, August 26,2021 2:04
p.m. EDT requests to file a formal complaint with Defendants' Human Resources
Department and efforts to pursue nonjudicial methods of addressing issues
concerning Defendants' binding "Smoke-Free Lease Addendum" obligations,
increased Plaintiffs rent $264.00, a 15% increase on Plaintiffs then current
December 5, 2020 - December 4,2021 monthly rental rate [ExhibitFpage
8and Exhibit Tpage 8].




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viii) Defendant,Samuel Zell, ignored Plaintiffs November 8, 2021 6:37 p.m. EST
sixteen page email entitled "URGENT!EQUITY CORP LEADERS CONDONE&
PARTICIPATEIN MISCONDUCT Against28 Year Equity Tenant and complaint,
detailing Defendants Mark Parrell, Frances Nolan and Nicole Klein's and other
employees'and agents' retaliatory and discriminatory conduct against Plaintiff post
Plaintiffs pursuing nonjudicial methods of addressing issues concerning
Defendants' binding "Smoke-Free Lease Addendum" obligations [Exhibit F\] ignored
Plaintiffs plea for help in remedying said misconduct[ExhibitFpage 16]; and,took
no action to assist in ceasing the aforementioned retaliatory and discriminatory
conduct[Exhibit Tpages 8-9].


IX) Defendant, Frances Nolan, permitted and condoned Defendants' Regional
Manager Lizzie Rivera's and Defendant Nicole Klein's:

(a) making false representations and misleading statements on November 30,2021
to the Arlington Virginia Police Department and thereby interjecting three police
officers into civil matters where no valid basis existed for doing so [Exhibit Tpage
9] post Plaintiffs pursuing the above mentioned nonjudicial methods of addressing
issues concerning Defendants' binding "Smoke-Free Lease Addendum" obligations.

(b)asserting the pretext of a "wellness check" despite Plaintiffs neighbors never
reporting anjd:hing suspicious to warrant such a "wellness check" and
Defendants'24 HOUR CAMERAS AT ALL ENTRANCES to the dwelling,including
the garage,show Plaintiff exiting and entering the premises on NUMEROUS
OCCASIONS throughout November 2021 and just days prior to November 30th;
and,

(c)using the Arlington Virginia Police Department and its three officers as a means
of intimidation post Plaintiffs asserting her right to withhold paying rent in
accordance with Code of Virginia§55,1-1258 Retaliatory ConductProhibited,§
B, which states,"Ifthe landlord acts in violation ofthis section, the tenant„..may
assertsuch retaliation as a defense in any action or against himfor possession.



B.Providing inferior treatment to Plaintiffin the terms,conditions,and/or
privileges ofa rental at Defendants'Arlington Courthouse Plaza Apartments in
Arlington County,Virginia.

i) Defendants, Nicole Klein and Frances Nolan, on December 22,2021 at 8:52 a.m.
EST caused Plaintiffs private Virginia Rent Relief Program emails to be published.


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absent Plaintiffs consent and post Plaintiffs efforts to pursue nonjudicial methods
of addressing issues concerning Defendants' binding "Smoke-Free Lease
Addendum" obligations, to Defendants'employees and third parties, respectively,
whose job duties do not dovetail with leasing or billing affairs nor meet the third
party exception for a third party to receive Plaintiffs private information without
Plaintiffs consent[Exhibit Q pages3-7\.


ii) Defendants, Nicole Klein and Frances Nolan,continued on numerous occasions
and over a span of five months [December 22, 2021 at 8:52 a.m. EST; January 4,
2022 at 3:00 p.m. EST; February 1, 2022 at 4:10 p.m. EST; March 31, 2022 at 8:55
a.m. EDT;and,April 28,2022 at 4:45 p.m. EDT ExhibitPpages1 - 2and 4 - 5;and,
Exhibit Q pages3-15] to cause Plaintiffs private Virginia Rent Relief Program
emails and related information to be published to Defendants' aforementioned
employees and third parties, respectively, whose job duties do not dovetail with
leasing or billing affairs nor meet the third party exception for a third party to
receive Plaintiffs private information without Plaintiffs consent.




iii) Virginia Rent Relief Program emails, which Defendants caused to be published
absent Plaintiffs consent and post Plaintiffs efforts to pursue nonjudicial methods
of addressing issues concerning Defendants' binding "Smoke-Free Lease
Addendum" obligations, included the "Subject" title,"VA Rent Relief Program -
Tenant Application Needed",and the "To:" portion contained plaintiffs email
address,"eIoiseswoods@....",thereby broadcasting the email pertained to Plaintiff
and Plaintiffs Virginia Rent Relief Program Application. That same email further
stated,"This email is to inform you [PlaintifJ] that your landlord [Defendants]
has filed a Landlord Application for VA Rent ReliefProgram(RRP)for your
rent property at 2250 CLARENDON BLVD APT 16 _ _ ARLINGTON VA,22201-
3373 To approve this case, we also need you,as a tenant,to do your part by
submitting a Tenant Application online....If you already filed your application,
please disregard this email."[ExhibitP pages 1 - 2and pages4 - 5;and,Exhibit
Q pages 3-15]The preceding sentences ensured the above referenced employees
and third parties' receiving said email[s3 readily discerned Plaintiff was the
individual to whom the directive applied and filed for Virginia Rent Relief Program.




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iv) Plaintiff issued via email on December 22,2021 at 7:23 p.m. EST; December 23,
2021 at 11:21 p.m. EST; April 1, 2022 at 6:33 p.m. EDT; and,April 14,2022 at 9:12
p.m. EDT [Exhibit Q pages 3-4;5-7;10-12;and,14],and via telephone
discussions on February 9, 2022 at 3:39 p.m. EST with Defendants' outside legal
counsel and Shulman Rogers attorney,Thomas Gartner [Exhibit Vpages 18-19],
and April 13, 2022 at 5:56 p.m. EDT with Defendants' Arlington Courthouse Plaza
Apartments Senior Leasing Agent, Bradley Burke [Exhibit Vpages 19- 21],
requests Defendants cease and desist from causing Plaintiffs above mentioned
private Virginia Rent Relief Program information to be published,and Defendants
ignored all six of Plaintiffs previously set forth requests.[Tyler Technologies NIC
Division Agent,Jamie Maccaroni, who processed Virginia Rent ReliefProgram
applications, confirmed Plaintiffs Virginia RentReliefProgram Application and
ANY and ALL information or material related to it are private and in no way
available to public. Exhibit R pages 1 - 2]


v) Defendant, Nicole Klein; Defendants' Regional Manager Lizzie Rivera; and,
Defendant, Frances Nolan,initially refused and failed in February 2022 to
appropriately credit payments to Plaintiffs account[Exhibit T pages 9-10 and
Exhibit W pages 1 - 2].


vi) Defendants' agent, outside legal counsel, and Shulman Rogers attorney, Thomas
Gartner,impeded Plaintiffs nonjudicial methods of resolving conflicts about the
force of binding contractual obligations vis-a-vis, but not limited to. Leasing
Agreement Term,"Default Remedies",in paragraph 27[Exhibit D page 5of6] and
Plaintiffs privacy rights [Exhibit Q pages pages3- 7,and 14;Exhibit R pages 1 -
2; and.Exhibit Vpages 18-19]and effectively obstructed performance of the
leasing contract and Plaintiffs enjoyment of all benefits, privileges,terms, and
conditions of that contractual relationship as are enjoyed by White residents.
[Exhibit T pages 10-12 and Exhibit W pages 1 - 5 and 7-8]


vil) Defendant, Frances Nolan, billed Plaintiffs account on March 31,
2022,$3,249.76 in an attorney's fee absent Arlington Virginia General District
Court judge Romaine Frances O'Brien's awarding such damages and in the face of
the thirty-one year old Virginia Supreme Court[precedent setting] case, Mullins v.
Richlands Nat'l Bank,241 Va.447,449(1991),.J'afactfinder is required to
determinefrom the evidence what are reasonablefees under thefacts and
circumstances ofthe particular case."[Exhibit T pages3- 4; 7;and,12;




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viii) Defendants' Regional Manager Lizzie Rivera, per Defendant Frances Nolan's
supervision, issued Plaintiff on May 17,2022 a "Fourteen (14} Day Notice To Pay Or
Quit" when,in fact. Defendants knew as of May 1, 2022 Plaintiff was approved on
April 28, 2022 for a $13,812.80 Virginia Rent Relief Program Payment for ALL April
2022 - July 2022 rental charges.[Exhibit Tpages 13-14].


IX) Defendant, Frances Nolan,and Defendants's Regional ManagerLizzie Rivera,
billed Plaintiffs account,just one day shy of Arlington Virginia General District
Court Judge Romaine Frances O'Brien's May 16, 2022 expungement of Defendants'
November 2,2021 Unlawful Detainer Claim,$706.25 in attorney's fees[May 17,
2021]and seven days post Judge O'Brien's expungement $671.00 in attorney's
fees[May 23,2022]absent Judge O'Brien's awarding such damages and in the face
of Muliins V. Richlands Natl Bank,241 Va.447,449(1991).[Exhibit Tpage 14
and 17-19].


X) Defendants'agent, outside legal counsel, and Shulman Rogers Managing
Shareholder,Samuel Spiritos, refused to address and responded dismissively vis-a-
vis Plaintiffs May 26,2022 7:41 p.m. EDT oral complaints regarding Thomas
Gartner's impeding Plaintiffs nonjudicial methods of remedying conflicts involving
leasing obligations, including but not limited to Leasing Agreement Term,"Default
Remedies",in paragraph 27[ExhibitD page 5 of6],and Samuel Spiritos too
obstructed performance of the leasing contract and Plaintiffs enjoyment of all
benefits, privileges, terms,and conditions of that contractual relationship as are
enjoyed by White residents.[Exhibit Wpages 7-8].


XI) Defendants' agent, outside legal counsel and Shulman Rogers attorney, Kyle
Koppenhaver,refused two times on December 5, 2022 to engage in communications
with Plaintiff after Arlington Virginia General District Court Clerk's Office informed
Plaintiff on November 30,2022 at 3:38 p.m. EST that Shulman Rogers',as
Defendants'agent, customary practice in cases like Case GV22004187-00 Unlawful
Detainer is for:(1)a defendant[Eloise Woods]to contact the plaintiffs [Equity
Residential Management's] attorney, Kyle Koppenhaver, with Arlington Virginia
General District Court Judge Romaine Frances O'Brien's November 29,2022 Court
Decision having been rendered in Equity Residential Management's favor; and,(2)
set up payment arrangements. Shulman Rogers'aforementioned customary
practice, with which the Arlington General District Court Clerk's Office's seemed
readily familiar, in effect appeared to be basis for its recommending Eloise Woods
do so.. Despite Shulman Rogers'foregoing customary practice on Equity Residential



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Management's behalf, Kyle Koppenhavrer remained adamant in his refusal to
correspond with Eloise Woods or lend any assistance.[Exhibit Vpages23- 36]



C. Defendants and their agents'false and misleading statements fostered and
facilitated retaliation and discrimination against Plaintiff.

i) Defendants' agent, outside legal counsel and Shulman Rogers attorney,Thomas
Gartner, made false statements and representations concerning the Virginia Rent
Relief Program privacy policy, including but not limited to his contention,"....no
private information about you [Plaintiff] was sent....", and ignored Plaintiffs
requests Defendants and their employees and agents cease and desist from causing
Plaintiffs private information to be published [Exhibit Q pages pages 3-7,and
14;ExhibitRpages1 - 2; and,Exhibit Vpages 18-19].


ii) Defendant, Nicole Klein, made false and misleading representations concerning
the processing of Virginia Rent Relief Program Applications thereby fostering and
facilitating retaliation and discrimination against Plaintiff[Exhibit Q pages 3- 6;
Exhibit R pages 1 - 2; and Exhibit Vpage 19].


iii] Defendants' agent, outside legal counsel, and Shulman Rogers attorney, Thomas
Gartner, made false statements and representations concerning Leasing Agreement
Term,"Default Remedies",in paragraph 27[ExhibitD page 5of6], and said
misrepresentations fostered and facilitated retaliation and discrimination against
Plaintiff.[Exhibit T pages 1 - 2;12-13;and 14 -15;and.Exhibit Wpages 7- 8].


34. At all relevant times Defendants, Nicole Klein, Frances Nolan, Mark Parrell and
Samuel Zell, their agents and/or their employees committed the discriminatory acts
and any and all other unlawful conduct contained in paragraph 33 as agents for
Equity Residential Management,LLC and/or Equity Residential.


35. The conduct of the Defendants as described in paragraph 33, constitutes:

Q3 Wholly private conduct making unavailable to or denying Plaintiff performance
and modification ofleasing contract and the enjoyment of all benefits, privileges,
terms,and conditions of that contractual relationship as are enjoyed by White
citizens / White tenants,in violation of 42 U.S.C.§§ 1981 [a), while the


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aforementioned impairment of Plaintiffs said protected activity constitutes
discrimination by a private entity, in violation of42 U.S.C.§§ 1981 (c);

(ii] Retaliatory, adverse acts instituted to interfere with Plaintiffs right to make and
enforce binding contractual obligations through nonjudicial methods of remedying
conflicts about the force of contractual obligations, in violation of42 U.S.C.§§ 1981
(a) and (c)and 42 U.S.C.§§ 1982;

(iii) An abandonment of services previously afforded Defendants' White tenants but
later denied to Plaintiff, in violation of42 U.S.C.§§ 1982;

pv] Discrimination in the terms, conditions, or privileges of Plaintiffs rental of
dwelling, on the basis of race or color in violation of Code of Virginia §36-96.3(A)
[2]; and. Code of Virginia § 31-3(A)(1)(b);

[v} An increase in rent and decrease in services post Plaintiffs complaints to
Defendants,in violation of Virginia Code § 55.1-1258(A) pi) and (B);

(vi) Interfering with Plaintiffs rental of dwelling because of race or color, in
violation of Code of Virginia § 31-3(A)(1)(e);

(vii) Attempting to collect liquidated damages against Plaintiff under a clause that is
unenforceable per applicable laws of the Commonwealth of Virginia [MuHins v.
Richlands Nat'l Bank,241 Va.447,449(1991)],in violation of Virginia Code § 59.1-
200(A)(13); using other deception,fraud,false pretense or misrepresentation with,
but not limited to,said transactions, in violation of Virginia Code § 59.1-200
(A)(14); and,engaging in said economic reprisal following Plaintiffs complaint
about unlawful housing practices, in violation of Virginia Code § 31-3(A)(1)(g);
and.



(viii) Releasing information about the Plaintiff in the possession of Defendants to
third party absent Plaintiffs consent, in violation of § 55.1-1209 (A).


36. The conduct of Defendants,as described herein, was intentional, willful,
egregious and taken with a reckless disregard for the rights of the Plaintiff.


 37. The conduct ofthe Defendants described in Paragraph 33 constitutes:




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(i) A pattern or practice of resistance to the full enjoyment of rights secured,
respectively, by 42 USC § 1981 et. seq. Equal Rights Under The Law and 42 USC
§ 1982 Property Rights ofCitizens.

(ii) A pattern or practice of resistance to the full enjoyment of rights secured,
respectively, by the Virginia Fair Housing Laws§ 36.96.3(A](2);§ 55.1-1258(A)(ii)
and (B]; and,55.1-1209(A);

(iii) A pattern or practice of resistance to the full enjoyment of rights secured by
the Virginia Consumer Protection Act S9.1-200(A](13)and (14);

(iv) A pattern or practice of resistance to the fiill enjoyment of rights secured by
the Arlington County Virginia Human Rights Ordinance §31-3 et. seq.

(v) A repeated, concerted, egregious denial of Plaintiffs rights granted by the above
set forth statutes in paragraph 37 (i), (ii),(iii) and (iv), which raises issues of general
public importance.


38. The Plaintiff, having been subjected to Defendants' numerous obstructive,
retaliatory and discriminatory housing practices, is an aggrieved persons as defined
by Virginia Fair Housing Law § 36-96.1:1 (i) and has suffered actual injury and
damages as a result of Defendants' conduct as described herein.

WHEREFORE,the Plaintiff prays that the Court enter an order that:

A. Declares that Defendants' policies and practices, as alleged herein, violate the
following:

(i) 42 USC § 1981(a)and (c). Equal Rights Under The Law and 42 USC
§ 1982 Property Rights ofCitizens;


(ii) Virginia Fair Housing Law §36.96.3(A)(2);§ 55.1-1258(A)(ii) and
(B); and,55.1-1209(A);


(iii) Virginia Consumer Protection Act S9.1-200(A)(13)and (14); and,

(iv) Arlington County Virginia Human Rights Ordinance § 31-3(A)(1)(b),(e), and
(g);



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B. Enjoins the Defendants,their agents, employees,and successors, and all other
persons in active concert or participation with them from:

(1) Discriminating on account of race or color against Plaintiff or any person in any
aspect of the rental of a dwelling; and

(2] Interfering with Plaintiff or any person in the exercise or enjoyment of rights
granted or protected by the statutes set forth in paragraph 37 i), pi], pii] and (iv].


C. Requires the Defendants to immediately take the following steps so as to ensure
non-discriminatory practices at their Arlington County rental properties.:

(1) Implement a self-testing program over the next three years to monitor their
employee's compliance with fair housing laws at their Arlington County properties.
The testing would be conducted by an independent contractor that would report the
results to the defendants and the presiding Eastern District of Virginia presiding
judge,chief Jude and clerk of the court and their respective successors, and allow
Defendants'investors and those investors' entire board of directors, upon proof of
their role as investors to the clerk of the court, to receive the aforementioned results
too should investors so desire.


[2] Obtain fair housing training through an independent contractor for their
employees who participate in renting,showing or managing apartments at the
Arlington County properties and for the next three years send confirmation of said
training when completed to the Eastern District Court presiding judge, chiefjudge
and clerk of the court and their respective successors.


D. Assesses a civil penalty against Defendants of no less than $100,000.00,given
their reckless disregard for their duties as managers,executives and Equity
Residential Board Members,respectively, and their recklessness disregard for
Plaintiffs rights, wherein said penalty would be placed in a fund which the Virginia
Department of Housing and Community Development would oversee and manage so
as to reestablish a rent relief program similar to that of its previous Virginia Rent
Relief Program;

E. Awards the following monetary damages to Plaintiff, the person aggrieved by
Defendants' repeated, egregious obstructive, retaliatory and discriminatory housing
practices:




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(1)Payment for any and all costs Plaintiff incurred or should occur to obtain redress
and restitution, including but not limited to, court fees and attorneys'fees should
Plaintiff seek such assistance.


(2) Given the gravity of the misconduct to which the Defendants subjected Plaintiff,
and the intentional, concerted,repeated and reckless disregard Defendants'
demonstrated concerning Plaintiffs rights, payment of$350,000.00 in punitive
damages.

(3)Payment of compensatory damages of$30,000,000.00.

F. Plaintiff further prays for such additional relief as the interests ofjustice may
require.

Plaintiff hereby demands a trial by the court, absent a jury, of this action and of all
issues.




Eloise S. Woods
                                                City Couiiiy
2250 Clarendon Boulevard                        Commonwealth of Virginia
                                                                   )inia J
                                                The foregoing instrument was acknowledged before me
Unit 1626
                                                this V/K day01
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                                                                                     Notary Public
 Arlington, VA 22201
                                                Reg."# 9g /> 95-VS> Com. Exp. O
Email: eswvirginia@gmail.com

Phone:(202)670-4503


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                                        UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF VERIGINIA              FSLED
                                                                  DIVISION




                                                                             im JAN -M P 2: !

                                   PIaintiff(s),


                                                                       Civil Action Number:

                                                   fft.
                                   Defendant(s).


                                LOCAL RULE 83.1(]VI) CERTIFICATION

I declare under penalty of perjui-j' that:

 No attorney has prepared, or assisted in the preparation of_                                 Aiod
                                                                             (Title of Document)         p-
                                                                                    Fpt
Naj3»ey)fP^Se Party(Print orjiyp^)

 Ugnatufe ofPro Se Party
                                                                                   IT '\6«.          ^
Executed on://i/a ^ (Date)
                                                             OR



The following attorney(s) prepared or assisted me in preparation of
                                                                               (Title of Document)

(Name of Attorney)


(Address of Attorney)


(Telephone Number of Attorney)
Prepared, or assisted in the preparation of, this document


(Name ofPro Se Party (Print or Type)


Signature ofPro Se Party

Executed on;                            (Date)
